MINUTE ENTRY
LEMELLE, J.
DECEMBER 5, 2022
JS10: 01:28

                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF LOUISIANA


MELISSA HIGNELL ET AL                                        CIVIL ACTION

VERSUS                                                       NO. 19-13773

CITY OF NEW ORLEANS                                          SECTION: B (1)


                                 ORAL ARGUMENT

Courtroom Deputy: Dena White
Court Reporter:   Toni Tusa

APPEARANCES:        Dawn Wheelahan, Counsel for Plaintiffs
                    Daniel Smith, Counsel for Defendants

Motion for Entry of Declaratory Judgment on Plaintiffs’ Commerce Clause
Claim (111)

Case called at 9:05 a.m.
All present and ready.
Court discussed status of case.
Argument by counsel for the parties.
March 31, 2023, deadline for City Council to implement a final resolution.
Statement by Ashley Becnel, Chief Zoning Official, City of New Orleans.
ORDERED that the parties provide a joint status report to the Court at the end of
December 2022, January 2023 and February 2023.
See Order.
Court adjourned at 10:33 a.m.
